Case 3:17-cv-00072-NKM-JCH Document 1008 Filed 08/13/21 Page 1 of 3 Pageid#: 17049




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Charlottesville Division

       ELIZABETH SINES, et al.,

                           Plaintiffs,                            No. 3:17-cv-00072-NKM

         v.                                                       JURY TRIAL DEMANDED

       JASON KESSLER, et al.,

                           Defendants.

                   MOTION FOR PRO HAC VICE ADMISSION OF JOSHUA SMITH

              Pursuant to Rule 6(d) of the Local Rules of the United States District Court for the

   Western District of Virginia, I, W. Edward ReBrook, IV, Esq., an attorney admitted to practice in

   this Court and counsel of record for Defendants Jeff Schoep, National Socialist Movement, and

   Nationalist Front in the instant litigation, hereby move the Court for the admission of Joshua

   Smith, Esq. to appear pro hac vice in the above-capitoned case on behalf of Defendants Matthew

   Parrott, Matthew Heimbach, and Traditionalist Worker Party.

              1.      Mr. Smith is an attorney from the Commonwealth of Pennsylvania. His contact

   information appears below, under his signature.

              2.      Smith is licensed to practice law in Pennsylvania, and has been a member in good

   standing of its Bar since 2008 (ID No. 207585).1 He is also admitted to practice in the United

   States District Courts for the Eastern and Western Districts of Pennsylvania.




   1          This is publicly verifiable at https://padisciplinaryboard.org.
Case 3:17-cv-00072-NKM-JCH Document 1008 Filed 08/13/21 Page 2 of 3 Pageid#: 17050




          3.      Smith agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which he is applying to appear pro hac vice, as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

                                         *      *         *      *

          WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Joshua Smith, Esq. to appear pro hac vice on behalf of Defendants Matthew

   Parrott, Matthew Heimbach, and Traditionalist Worker Party in the above-captioned case, and to

   appear at hearings or trials in the absence of an associated member of the bar of this Court.


                                         Respectfully submitted,




   /s/ W. Edward Rebrook, IV                              /s/ Joshua Smith
   W. Edward ReBrook, IV, Esq.                            Joshua Smith, Esq.
   Virginia Bar ID No. 84719                              Pennsylvania Bar ID No. 207585
   The ReBrook Law Office                                 Smith LLC
   6013 Clerkenwell Court                                 807 Crane Avenue
   Burke, Virginia 22015                                  Pittsburgh, Pennsylvania 15216
   (571) 215-9006 (phone)                                 (917) 567-3168 (phone)
   edward@rebrooklaw.com                                  joshsmith2020@gmail.com

   Counsel for Defendants Jeff Schoep,                    Counsel for Defendants Matthew Parrott,
   National Socialist Movement, and                       Matthew Heimbach, and Traditionalist
   Nationalist Front                                      Worker Party

   Dated: August 13, 2021




                                                    -2-
Case 3:17-cv-00072-NKM-JCH Document 1008 Filed 08/13/21 Page 3 of 3 Pageid#: 17051




                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 13, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on August 13, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
   richardbspencer@icloud.com                             azzmador@gmail.com
   richardbspencer@gmail.com
                                                          Elliott Kline a/k/a Eli Mosley
   Vanguard America                                       eli.f.mosley@gmail.com
   c/o Dillon Hopper                                      deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                           eli.r.kline@gmail.com

          I hereby further certify that on August 13, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
   Marion, IL 62959


                                                           /s/ W. Edward Rebrook, IV
                                                           W. Edward ReBrook, IV, Esq.
                                                           Virginia Bar ID No. 84719
                                                           The ReBrook Law Office
                                                           6013 Clerkenwell Court
                                                           Burke, Virginia 22015
                                                           (571) 215-9006 (phone)
                                                           edward@rebrooklaw.com

                                                           Counsel for Defendants Jeff Schoep,
                                                           National Socialist Movement, and
                                                           Nationalist Front


                                                    -3-
